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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF INDIANA
                           HAMMOND DIVISION AT LAFAYETTE


IN RE:                               )              BANKRUPTCY NO. 14-40259-REG
                                     )              CHAPTER 7
JAMIE JUSTIN PATRICK                 )
                                     )
               Debtor(s)

     ORDER AUTHORIZING APPLICATION TO EMPLOY SPECIAL COUNSEL

         Upon consideration of the Application of Edward Chosnek, Trustee, for authority to

employ the Law Offices of Charles P. Dargo, P.C. as special counsel to represent the Estate in

pursuit of a pending lawsuit under Cause No. Cause No. 14-1169, Division L in Civil District

Court For The Parish of Orleans State of Louisiana, and it appearing that the professional services

of an attorney are and will be required, and that the Law Offices of Charles P. Dargo, P.C. are

attorneys duly admitted to practice and represent no interest adverse to the Estate,

         IT IS ORDERED that Edward Chosnek, Trustee, be and hereby is authorized to employ

the Law Offices of Charles P. Dargo, P.C. as special counsel to represent the Estate in pursuit of

any and all claims pursuant to the terms of the Application.

                 April 17, 2015.
         DATED: ___________________



                                                     /s/ Robert E. Grant
                                                     _______________________________
                                                      Chief Judge, U. S. Bankruptcy Court
